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                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MICHIGAN

CHERYL KENNEDY
      Plaintiff,
-vs.-                                               DEMAND FOR JURY TRIAL


NCO FINANCIAL SYSTEMS, INC.
      Defendant.
__________________________________



                            COMPLAINT & JURY DEMAND

       Plaintiff, Cheryl Kennedy through counsel, Nitzkin and Associates, by Gary Nitzkin

states the following claims for relief:




                                          JURISDICTION

   1. This court has jurisdiction under the FDCPA, 15 U.S.C. §1692k(d) and 28 U.S.C.

   2. §§1331,1337.

   3. This court may exercise supplemental jurisdiction over the related state law claims

       arising out of the same nucleus of operative facts which give rise to the Federal law

       claims.




                                            PARTIES

   4. The Defendant to this lawsuit is NCO Financial Systems, Inc. which is a Pennsylvania

       corporation, doing business in Michigan.




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                                          VENUE

 5. The transactions and occurrences which give rise to this action occurred in Oakland

    County, MI.

 6. Venue is proper in the Eastern District of Michigan.




                             GENERAL ALLEGATIONS

 7. Defendant has been attempting to collect on a consumer type debt owed by the Plaintiff.
 8. Defendant has been calling Todd Sochowicz’s home phone number (248) xxx-5088 via
     prerecorded messages, stating that it is attempting to collect a debt and any information
     obtained will be used for that purpose.
 9. This phone number belongs, exclusively to the Plaintiff’s roommate.
 10. Defendant called Mr. Sochowicz on the following dates, each time disclosing that it is a
     debt collector attempting to collect a debt and any information obtained will be used for
     that purpose:
         a. On January 27, 2011 at 2:26 p.m
         b. On January 31, 2011 at 11:16 a.m.,
         c. On February 3, 2011 at 2:16 p.m.,
         d. On February 8, 2011 at 10:39 a.m., .
         e. On February 10, 2011 at 12:27 p.m.
 11. On the following dates, Mr. Sochowicz contacted the Defendant in an effort to stop them
     from calling him any further, but was stymied as he was unable to get through to the
     Defendant:
         a. February 11, 2011,
         b. February 12, 2011,
         c. February, 2011
         d. February 14,
 12. Finally, on February 15, 2011, Mr. Sochowicz called NCO and spoke with a

    representative who disclosed to him that the Defendant was looking for Cheryl Kennedy.

 13. The Plaintiff has suffered damages as a result of this violation of the FDCPA.




        COUNT I - FAIR DEBT COLLECTION PRACTICES ACT

 14. Plaintiff reincorporates the preceding allegations by reference.

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   15. At all relevant times Defendant, in the ordinary course of its business, regularly engaged

       in the practice of collecting debts on behalf of other individuals or entities.

   16. Plaintiff is a "consumer" for purposes of the FDCPA and the account at issue in this case

       is a consumer debt.

   17. Defendant is a "debt collector" under the Fair Debt Collection Practices Act ("FDCPA"),

       15 U.S.C. §1692a(6).

   18. Defendant's foregoing acts in attempting to collect this alleged debt violated 15 U.S.C.

       §1692 et. seq;

   19. The Plaintiff has suffered damages as a result of this violation of the FDCPA.




                              DEMAND FOR JURY TRIAL

       Plaintiff demands trial by jury in this action.



                     DEMAND FOR JUDGMENT FOR RELIEF



   Accordingly, Plaintiff requests that the Court grant him the following relief against the

defendant:

   a. Actual damages.

   b. Statutory damages.

   c. Treble damages.

   d. Statutory costs and attorney fees.



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Respectfully submitted.


 February 23, 2011        /s/ Gary Nitzkin
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